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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of
                                                         Southern District of Florida
                                                                              __________
    Pues Family Trust IRA, Michael Pues Executor
                                                                              )
                               Plaintiff                                      )                                19-80024-DMM
                                  v.                                          )        Civil Action No.
          Parnas Holdings, Inc., and Lev Parnas                               )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                        Russell S. Jacobs, P.A. (DBA Jacobs Law Group) by and through its Records Custodian
To:                                    By Serving its Registered Agent The Jacobs Law Group
                                            20700 West Dixie Highway Aventura FL 33180
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See attached Exhibit A


 Place:                                                                                 Date and Time:
          Andre Law Firm P.A.
          18851 N.E. 29th Ave Suite 724                                                                   July 24, 2019 at 9:00 am
          Aventura, FL 33180
     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                       /s/ Tony Andre
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Pues Family Trust IRA, Michael Pues Executor                            , who issues or requests this subpoena, are:

Tony Andre, Esq., 18851 N.E. 29th Ave Suite 724 Aventura, FL 33180; 7867080813; info@andrelaw.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.
                       19-80024-DMM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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      Exhibit A

                                              Definitions

             As used in this request, the following words shall be defined as follows:

             1)      “Document” includes, but is not limited to, originals where available, or

      otherwise a carbon copy, Xerox copy or other copy, including each non-identical copy

      (whether different from the original because of marginal notes, or other material inserted

      or attached thereto, or otherwise) of each item of correspondence, letters, memoranda,

      messages, telephone bills, notes, offers, orders, confirmations, contracts, agreements,

      reports, punch sheets, punch lists, agendas, cables, telegrams, diaries, appointment books,

      invoices, ledgers, returns, accounts, checks, check stubs, drafts, statements, indexes, data

      sheets, data processing cards, logs, worksheets, service orders, expense vouchers,

      maintenance records, inspection reports, licenses, permits, settlement paperwork, printing,

      pictures, advertisements, slides, film, microfilm, micro fiche and other written matter of

      every kind and character; notes, memoranda, transcripts, recording tapes, recording disks

      or other records of oral communications; and graphs, books, charts, tables, prospectuses,

      tabulations, worksheets, compilations, summaries, minutes, lists, pamphlets, brochures,

      drawings, renderings, diagrams, sketches, etchings, tracings, plans, blueprints, posters,

      periodicals, publications, bulletins, computer printouts, studies, electronic mail,

      information contained in electronic or computer storage media and other papers in the

      possession, custody or control of Russell S. Jacobs, P.A. d/b/a or a/k/a The Jacobs Law

      Group (“Deponent”) or its officers, directors, agents, employees, affiliates, subsidiaries,

      divisions, partners, parents, predecessors, successors, joint venturers, attorneys or

      representatives, including documents which were prepared by Deponent’s officers,
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      directors, agents, employees, affiliates, subsidiaries, divisions, partners, parents,

      predecessors, successors, joint venturers, attorneys or representatives, which did not leave

      the custody of the person preparing them.

              2)     “You” or “Your” refers to Deponent, its officers, directors, agents,

      attorneys, affiliates, subsidiaries, divisions, partners, parents, predecessors, successors,

      joint venturers, employees, representatives and any and all other persons acting for,

      purporting to act for, or subject to the control of Deponent, or its subsidiaries, parents,

      predecessors or successors.

              3)     “And” or “Or” shall include the conjunctive as well as the disjunctive.

              4)     “Communications”      include   correspondence,     discussions,   telephone

      conversations and all other forms of written or oral communication.

                     5)      “Judgment debtor” refers to any of the following:

                     a)      Parnas Holdings, Inc., FEIN: XX-XXXXXXX; and/or

                     b)      Lev Parnas, an individual, last known address: 7670 La Corniche

      Circle Boca Raton, FL 33433.



                              Schedule of Documents to be Produced

              Any and all documents in your possession, custody or control that relate or reflect

      or refer to:

              1.     The wire transfer to Aaron Investments I, LLC made by you on or about

      May 15, 2018. See attached redacted wire transfer advice.
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